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8                                UNITED STATES DISTRICT COURT
9                               EASTERN DISTRICT OF CALIFORNIA
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11   SANDRA NASCA,
                                                    Case No. 2:23-cv-01114-DJC-DB
12                 Plaintiff,
                                                    ORDER GRANTING JOINT
13                                                  STIPULATION FOR ORDER TO
           v.                                       CONTINUE PLAINTIFF’S MOTION
14
                                                    FOR ATTORNEY’S FEES, COSTS,
15   FCA US LLC; and DOES 1 through 10,             AND EXPENSES AND
16   inclusive                                      JURISDICTION
17                 Defendants.
18
19         On June 12, 2024, both Parties filed a Joint Stipulation to Continue Court’s
20   Jurisdiction Over Settlement filed by the parties.
21         The Court, having considered the Parties’ Joint Stipulation and finding good cause
22   therefore, hereby GRANTS the Joint Stipulation and ORDERS as follows:
23
24         1. The Joint Stipulation is Granted;
25         2. The Court continues the filing deadline of Plaintiff’s Motion for Attorneys’ Fees,
26              Costs, and Expenses from June 17, 2024 to August 19, 2024; and
27   ///
28   ///



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1          3. The Court retains Jurisdiction over the action until Plaintiffs’ fees, costs, and
2              expenses are determined and payment satisfied.
3
4          IT IS SO ORDERED.
5
     Dated: June 13, 2024                         /s/ Daniel J. Calabretta
6
                                                  THE HONORABLE DANIEL J. CALABRETTA
7                                                 UNITED STATES DISTRICT JUDGE
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